Case 2:05-cv-02018-SHI\/|-dkv Document 7 Filed 06/02/05 Page_ 1 of 2 Page|D 4

IN THE UNITED sTATEs DISTRICT CoURT F”'ED 33 § D-C,
FoR THE WESTERN DISTRICT oF TENNESSEE 0,5 JUH
WESTERN DIVISION ~ - “2 AH ll= I h

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CLEF“?K US [)r$'['_ OC‘?

REDONNA T' HANNA, W.I:l‘. OF i'l`\i, MEMPH!S

Petitioner,

VS. NO. 05-20]8-Ma/V

GLEN TURNER, WARDEN,

Respondent.

 

ORDER GRANTING MOTION FOR ADDITIONAL T[ME TO RESPOND

 

Before the court is the respondent’S motion, filed May 26, 2005 for enlargement of time in
Which to tile a response to the petition in this matter.
For good cause shown, the motion is granted. The respondent shall have until July l, 2005

within which to tile a response

IT ls so oRDERED this'l’\ day ofJune, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

     

UNITSED`TME DISTRCT C URT - WESNTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-020] 8 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Mark A. Fulks

ATTORNEY GENERAL'S OFFICE (NashvilleCr)
P.O. Box 20207

Nashville, TN 37202

Redonna Hanna

HARDEMAN COUNTY CORRECTIONAL FACILITY
286985

P.O. Box 549

Whiteville, TN 38075

Honorable Sarnuel Mays
US DISTRICT COURT

